                  Case 24-20138             Doc 80       Filed 06/12/24 Entered 06/12/24 13:33:16                         Desc Main
  Fill in this information to identify the case:
                                                           Document     Page 1 of 2
  Debtor name BOTW Holdings, LLC

  United States Bankruptcy Court for the:                                    District of   Delaware
                                                                                           (State of)
  Case Number (if known):       24-20138                                       Chapter     11                                   Check if this is an
                                                                                                                                amended filing

Official Form 206G
SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                                                                          12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
  1. Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor’s other schedules.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).

2. List all contracts and unexpired leases                                                         State the name and mailing address for all
                                                                                                   other parties with whom the debtor has an
                                                                                                   executory contract or unexpired lease
           State what the contract or      CONSULTING AGREEMENT FOR                                APEX HUNTING SOLUTIONS
2. 1       lease is for and the nature                                                             PO BOX 3101
                                           SALES/MARKETING
           of the debtor’s interest                                                                CODY, WY 82414
           State the term remaining        4/15/2025
          List the contract number of
          any government contract


           State what the contract or      RICOH IM C3000 COPIER AT 115 W.                         DEX IMAGING
2. 2       lease is for and the nature                                                             PO BOX 17299
                                           YELLOWSTONE AVE
           of the debtor’s interest                                                                CLEARWATER, FL 33762
           State the term remaining        2/3/2028
          List the contract number of
          any government contract


           State what the contract or      EMPLOYEE DENTAL & VISION                                METLIFE
2. 3       lease is for and the nature                                                             PO BOX 804466
                                           INSURANCE
           of the debtor’s interest                                                                KANSAS CITY, MO 64180
           State the term remaining        9/30/2024
          List the contract number of
          any government contract


           State what the contract or      ACCOUNTING TRAINING &                                   MICHALETZ HOLDINGS, LLC
2. 4       lease is for and the nature                                                             150 ST. ANDREWS COURT
                                           CONSULTATION
           of the debtor’s interest                                                                SUITE 210
                                                                                                   MANKATO, MN 56001
           State the term remaining        NOT SPECIFIED
          List the contract number of
          any government contract


           State what the contract or      MARKETING SERVICES                                      SPOTTED BEAR MARKETING, LLC
2. 5       lease is for and the nature                                                             1204 GLIDER LANE
           of the debtor’s interest                                                                UNIT A
                                                                                                   BELGRADE, MT 59714
           State the term remaining        MONTH TO MONTH
          List the contract number of
          any government contract




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  Debtor BOTW Holdings, LLC
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         Nam

      Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
 List all contracts and unexpired leases                                State the name and mailing address for all
                                                                        other parties with whom the debtor has an
                                                                        executory contract or unexpired lease
        State what the contract or    CONSULTING SERVICES                      STRYK GROUP USA
2. 6    lease is for and the nature                                            215 QUAIL RUN RD
        of the debtor’s interest                                               SUITE D
                                                                               BOZEMAN, MT 59718
        State the term remaining      MONTH TO MONTH
        List the contract number of
        any government contract


        State what the contract or    LEASE AGREEMENT                          YELLOWSTONE AVE, LLC
2. 7    lease is for and the nature                                            150 ST. ANDREWS COURT
        of the debtor’s interest                                               SUITE 210
                                                                               MANKATO, MN 56001
        State the term remaining      9/30/2020
        List the contract number of
        any government contract




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